Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 1of36 Page ID #:3344

EXHIBIT 5
 

JOHN H. HAGAR, JR.
444 Lincoln Blvd., Suite 319 . :

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ACU Foundation of JAN- 4 1984
j| Southern California JOHN 1. GunuiAd, COUNIE cas -
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Los Angeles, California 90005 gt
6j| (213) 487-1720 72.0 me Pee
7 Attorneys for Petitioners.
8
IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
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FOR THE COUNTY OF LOS ANGELES
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11
AMERICAN CIVIL LIBERTIES UNION ) Case No. C 275653
12!| OF SOUTHERN CALIFORNIA, Inc., )
et al., ) NOTICE OF MOTION FOR
13 ) MODIFICATION OF
Petitioners, } PEREMPTORY WRIT OF MANDATE;
14 } POINTS AND AUTHORITIES;
ij vS. } BBECLARATIONS.
15: )
PETER J, PITCHESS, et al., }
16 ) Department: 85
Respondents. } Date: February 2, 1984
17 ) Time: 9% a.m,
18
To each party and attorney of record:
19
PLEASE TAKE NOTICE that on February 2, 1984 at 9 a.m. in
20
Department Number 85 in the Los Angeles County Superior Court
21
located at 11 North Hill Street, Los Angeles, California,
22
Petitioner American Civil Liberties Union Of Southern California
23 ut
will move the Court for an order modifying the Peremptory writ of
24 *
Mandate dated April 4, 1980 to commarxi Respondents PATRICIA RAUSCHER
25
as Acting Chief Deputy Director of the Department of Health Services
26
for the State of California; PETER RANK, as Director of the
27 |
28. Departnent of Health Services of the State of California; and DAVID
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(1) EXHIBIT 5
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Case 2:75+

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Cv-04111,DDP eo 252-3 Filed 11/22/10 eo 3 of 36. Page ID #:3346

SWOAP as Secretary of the Health and Welfare Agency of the State of
California, to grant or deny Respondent COUNTY OF LOS ANGELES
licensure pursuant to Health and Safety Code, section 1250 et seq.,
of those health facilities in the Los Angeles County Men's Central
Jail and in the Sybil Brand Institute for Women within ninety (90)
days, ard for petitioners’ reasonable costs and attorney fees.

This motion is made under California Health and Safety Code,
sections 1250 et seq. and on the grounds that:

a} The physical and mental well being of the inmates at
the Central Jail and Sybil Brand continue to suffer as long as the
facilities remain unlicensed;

b} Money damages are extremely difficult to calculate for
the harm caused said inmates;

c) Money damages will not adequately compensate those
inmates harmed; and

d) Although Respondent County of Los Angeles has complied
with the Peremptory Writ of Mandate issued by this Court on April 4,
1980, Respondents PATRICIA RAUSCHER, as Acting Chief Deputy Director
of the Licensing and Certification Division of the Department of
Health Services of the State of California; PETER RANK, as Directar
of Health Services of the State of California; and DAVID SWOAP, as
Secretary of the Health and welfare Agency of the State of
California have failed, and continue tu fail, over the course sf
more than three and one half years, to either jrant or deny said
licenses to the Los Angeles County Men's Central Jail and the Sybil
Brand Institute for Women.

This motion is based on all the pleadings, papers, and records

 

 

 

 
 

Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 4 of 36 Page ID #:3347

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filed In this action, on the attached points and authorities, the
Declaration of John H. Hagar Jr., the attached exhibits referenced
within that declaration, and on such evidence as may be presented at

the hearing.

oo Oo & WS NH =

Dated: January 3, 1984

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! Fred Okrand

| John H. Hagar, Jr.
10); }

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H. Hagar, pr.
Attomeys for Plaintiffs

    

 

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Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 5of36 Page ID #:3348

EXHIBIT 6
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 6 of 36 Page ID #:3349

SUPERIOR COURT LOS ANGELES COUNTY

 

 

€ 275653
AMERICAN CIVIL LIBERTIES UN ET AL SMERLING=-CKRAKD- &OG5ENBAUM
LOS ANG CC SHERIFF ET AL
NATURE OF ACTION: BOSC CIVEL COMPLATAT=MONKEY INVOLVED CODE o601

 

_ReroRTeA Ci Hy Eson/

REPORTER

YEAR MONTH 7 DAY

PROCEEDINGS

JUDGMENT ENTERED
OF ENTRY OF JUDGMENT ANQ

 

EXHIBIT 6
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 7 of 36 Page ID #:3350

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' SUPERIOR COURT LOS ANGELES COUNTY

 

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Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 8 of 36 - Page ID #:3351

EXHIBIT 7
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 9 of 36 Page ID #:3352

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JOHN HAGAR

ACLU Foundation of So. California
€@33 South Shatto Place

Los Angeles, CA 90005

(213) 487-1720

Attorney for Plaintiffs

DENNIS RUTHERFORD, et al.,

SHERMAN BLOCK, et al.,

 

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Plaintiffs,

VS.

Defendants.

Nome Swart Neat Sel sel eet et Ni Ne el

 

 

 

  

 

 

Rea rorams

IN THE UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

NO. CV 75-4111 WPG

STIPULATION AND COURT
APPROVAL THEREOF

The parties to the above-entitled action, through their

counsel of record, the undersigned,

Subject to the Court’s approval,

/

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PS 2-85

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CLERK, U.S. DistRiCy COURT
GENTRAL mer res AMIA

 

eet

hereby enter this Stipulation

and stipulate as follows:

EXHIBIT 7

 
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 10 of 36 Page ID #:3353

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A. PREAMBLE
Plaintiffs’ counse! continues to be afforded access to both

inmates and the entire Central Jail facility by Defendants. AS

Part of this access program, a sertes of inmate interviews has

/ been conducted by a representative from the ACLU and a repr e-—

Sentative from the Sheriff's Department.

During these interviews questions have arlseén concerning
medical treatment tn the Central Jail. Consequentiy, the parties
stipulate as foilows:

B. STIPULATIONS

1. Plaintiffs’ counsel and one ACLU summer intern will
have access at the Central Jail to the following documents for
inspection purposes only. Plaintiffs’ counsel and the summer
intern wiil not copy these documents. Further, they shall not
discuss these documents with any third parties without obtaining
prior Court approval. aA Jail Medical Services person may be
Present to interpret the records.

a. The médical records of all inmates confined ine
1800 at the Central Jail on July 4, 1987.

b. The medical records of alt inmates confined in
1800 at the Centra! Jail on July 8, 1987.

c. The medicai records of allt inmates confined in
1800 at the Centrai jail on July 14, 1987.

d. The médical records of al! Inmates interviewed
by Jake Katz and Fl jizabeth Grayer pursuant to the summer inter
view program.

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T6TS76T— PS 2-85

 
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 11 o0f 36 Page ID #:3354

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e. The medical records, autopsy records, investi-
gative reports and coroner’s reports of each Inmate who died [In
the Los Angeles County Jail system jn 1987.

IT IS SO STIPULATED:

Da te z

 

one Esqt/
Attofney for Plaintiffs

   

Assistant County Counse!

Attorneys for Defendants

GOOD CAUSE APPEARING THEREFORE, IT 3S SO ORDERED:

pate: 2 “ A, 291989 Matte Lora,

 

 

WYLLIAM P. GRAY
United States District Court

76TS76T- PS 2-85

 
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 12 of 36° Page ID #:3355

EXHIBIT 8
Case 2:74

Lcv-04111-DDP Document 252-3 Filed 11/22/10 Page 13 of 36 “Page ID #:3356

JOHN BAGAR
PAUL HOFFMAN .
ACLU Foundation of

Southern California
633 South Shatto Place .
Los Angeles, California 90005
(213) 487-1720

Attorneys for Plaintiffs

  

IN THE UNITED STATES DISTRICE COURT

 

 

  
  

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FOR THE CENTRAL DISTRICT OF CALIFORNIA

DENNIS RUTHERFORD, No: CV 75-4111 WPG

Plaintiff,
STIPULATION RE EXAMINATION

OF INMATE MEDICAL RECORDS;
ORDER THEREON

vs.
SHERMAN BLOCK, et al.,

Defendants,

Smet Net Met Nee ae Nee ee Nel ee” Nee!

 

The parties have received inmate complaints concerning. certain
specific medical procedures which require inmates to be transported
from jail to County USC hospital facilities. The parties are
uncertain as to the scope of this problem and require a review of
inmate medical files and records. Some of the affected inmates have
been released from custody and if would be difficult, if not
impossible, to obtain their consent for an examination of the
medical records maintained for them by the Sheriff during their jail
confinement.

Consequently, the parties stipulate, with the Court's approval,
to review approximately forty inmate medical records before August
31, 1988 without obtaining formal consent from the affected former

inmate, The parties further stipulate not to review the medical

EXHIBIT 8 \

 

 
Case 2:754cv-04111-DDP Document 252-3 Filed 11/22/10 Page 14 0f 36 Page ID #:3357

 

 
 

   

 

1 file of any in-custody inmate without obtaining formal written
2 consent.

3 The records shall not be disclosed to any other person than the
4 parties’ counsel, their legal assistants, and experts as may be
5 necessary to review and evaluate the records; and no person
6]; permitted to review the records pursuant to this stipulation and
7 order shall disclose the involved inmates’ names’ to any person or
8 use information gained therefrom for any purpose other than this
9 litigation without further order of this court.

10

Dated: August 4, 1988,
11
12|| DE WITT W. CLINTON, County Counsel JOHN HAGAR
PAUL HOFFMAN
13 ACLU Foundation of
Southern ifornia
Hl de Re
15]} “py. Len (2S "By: =
FREDERICK R. BENNETT ~~ JOAN HAGAR

16 Assistant County Counsel Attormeys for Plaintiffs
17 Attorneys for Defendants

18

19 ORDER

20
21 It is so ordered.

22|| Dated: August 15, 1988

NX

23 :

oA Unteéd States District Judge

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Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 15 o0f36 Page ID #:3358

EXHIBIT 9
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 16 of 36 Page ID #:3359

2006 U.S. Dist. LEXIS 81431, *

Page 2

1 of 1 DOCUMENT

DENNIS RUTHERFORD, et ai., Plaintiffs, v. LEROY BACA, et al., Defendants.

Case No. CV 75-04111 DDP

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF
CALIFORNIA

2006 US. Dist. LEXIS 81431

October 26, 2006, Decided
October 27, 2006, Filed, Entered

PRIOR HISTORY: Rutherford v. Block, 2005 U.S.
Dist. LEXIS 40375 (C.D. Cal, Nov. 18, 2005)

COUNSEL: [*1] For Dennis Rutherford, Plaintiff.
David C Fathi, ACLU National Prison Project,
Washington, DC, US.: Mark D Rosenbaum, Melinda
R Bird, Peter J Eliasberg, Ranjana Natarajan, ACLU
Foundation of Southern California, Los Angeles,
CA.

For Sherman Block, Substituted for Peter J
Pitchess, Defendant: Justin W Clark, Paul B Beach,
Franscell Strickland Roberts & Lawrence, Glendale,
CA. Roger H Granbo, Jr, Los Angeles County
Counsel, Los Angeles, CA.

For M Quintana, R Costa, E P Gipson, M
Hernandez, J Lozada, L Mora, S A Thomas,
Intervenors: Marion R Yagman, Stephen Yagman,
Yagman Yagman & Reichmann, Venice, CA.

For Los Angeles Times Communications LLC, non-
party press organization, Intervenor: Alonzo B
Wickers, IV, Kelli L Sager, Susan E Seager, Davis
Wright Tremaine, Los Angeles, CA.: Karlene
Worthington Goller, Los Angeles . Times
Communications LLC, Las Angeles, CA.

JUDGES: DEAN D. PREGERSON, United States
District Judge.

OPINION BY: DEAN D. PREGERSON

OPINION

ORDER TO SHOW CAUSE RE ISSUANCE OF
PRELIMINARY INJUNCTION AND TEMPORARY
RESTRAINING ORDER

On October 19, 2006, the Court held a hearing

on Plaintiffs Order to Show Cause for Temporary
Restraining Order. and Preliminary Injunction. The

_ [2] Court reviewed the declarations and briefs

submitted by the parties. Additionally, the Court
heard testimony from Mary Tiedeman, the Jails
Coordinator for the ACLU Foundation of Southern
California whose responsibilities include monitoring
compliance with the orders relating to this case. The
Court heard testimony from Capt. Timothy Cornell,
who is responsible for the administration of the
Inmate Reception Center ("IRC"}. The Court heard
testimony from Commander Alex Yim, who is a
commander in the correctional services division of
the Los Angeles County Sheriffs Department
("LASD").

The Court has toured the Men's Central Jail
("MCJ") on two occasions. During the first tour on
May 10, 2006, there was clear evidence of
overcrowding. The Court is aware — that

_ overcrowding, per se, may not be a constitutional

violation. However, several examples of what the
Court observed consisted of overcrowding to such a
degree that a finding of a constitutional violation
would be warranted. Specifically, the Court noted
that cells originally designed for four inmates
housed six inmates, and cells designed for two
inmates held four inmates. The Court observed that
the cells were of such a size that [*3] inmates were
required essentially to be in their bunks at all times
because there was not sufficient floor space for
them to stand. The Court also noted that inmates
are in these cells 24 hours a day, 7 days a week,
unless they have medical visits, family visitation, or
are taken to the roof for exercise. Exercise consists
of about three hours per week, typically done in a
single three hour session. The inmates are served
all of their meals in these cells. Inmates may be
assigned to these cells for many months. These

EXHIBIT 9
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 17 of 36 Page ID #:3360

2006 U.S. Dist. LEXIS 81431, *

cells also contain a toilet/basin facility. Following this
tour, the Gourt stated that what was observed was
inconsistent with basic human values.

The Court went on a second tour on September
14, 2006. During the tour, significant progress had
been made in addressing many of the issues that
arose during the first tour. The six person cells were
reduced to four persons, the four person cells were
reduced to two persons, many of the areas in
question had been cleaned and repainted and
additional day room space, with televisions, was
being developed.

The genesis of the present hearing is that, as a
result of the lessening of the overcrowding issues at
MCJ, more and more [*4] inmates were backed up
into the facility that feeds the MCJ, the Inmate

-Reception Center ("IRC"). Capt. Cornell testified
that, as a result of the population reduction at MCJ,
the IRC's typical population was increased by about
500 inmates. The Court believes that this increase
has strained the IRC's ability to function in a
satisfactory manner.

The IRC handles inmate processing for the
system across the state. The processing includes
assigning security classifications and conducting
medical screening. After inmates are processed
through the IRC, they wait to be transported to a
residential facility. A substantial percentage of the
inmates awaiting transfer from the IRC are sent to
MCJ.

if no housing is available at MCJ, inmates are
held in cells at the IRC known as the Custody Line
Holding Cells ("holding cells"). There are 30 holding
cells. The holding cells contain metal benches
affixed to a wall and a single toilet located behind a
partition. The holding cells are approximately 15 1/2
Xx 12 feet, or approximately 186 feet. There is a
memorandum at the IRC that states that no more

than 20 inmates should be placed in a holding cell _

without approval from a supervisor. ' The Tiedeman
[*5] Declaration at P29 states that she observed as
many as 35 inmates in a holding cell. inmate
declarations attest to holding cell counts of over 50
inmates. 2 It is unclear whether this memorandum
constitutes a "policy" of the IRC. !t is also unclear
whether the IRC documents the instances in which
more than 20 inmates are in a holding cell.

41 If 20 inmates are in a holding cell of 186
feet, each inmate has a space of about 9
square feet. This equates to an area that is 3
ft. x 3 ft. If 30 inmates are in a halding cell,
the area is reduced te an area of 3ft. x 2 ft.

2 The Court regards the inmate

Page 3

declarations skeptically because the
declarants have not been subject to cross-
examination. Nevertheless, there are
numerous declarations attesting to holding
cell populations of over 30 inmates.

The holding cells contain no bunks or
mattresses. In some instances, inmates have been
required to remain in the holding cells for as long as
10 hours, which can include the night time period.
When this occurs, the inmates [*6] are required to
attempt to sleep on the floor. The holding cells are
cleaned by mechanical/steam cleaning machines.
They are also swept and mopped by inmate-
trustees. However, because of the recent population
increase in the IRC, it is not always possible to
regularly clean the cells by either method. There are
two reasons for this problem. First, inmates are
currently being kept in holding cells for more time
than they were held there previously. Second,
because the cells can only be cleaned when they
are empty, there is frequently insufficient time to
clean them when they are empty because there is a
backlog of inmates awaiting placement in a holding
cell. The Court also heard that it is the policy in the
IRC to not place inmates in a holding cell if the toilet
is broken. The declarations submitted by the ACLU
indicate that inmates have complained that the
toilets have been filthy.

The Court is aware that the Los Angeles County
Jail is the largest jail in the country. Managing it is
an immensely complicated enterprise because it
houses approximately 19,500 inmates spread
across eight custody facilities, numerous patrol
stations and at least 40 courthouses. In addition to
providing [*7] the necessities of food, shelter and
clothing, the Los Angeles County Jail must address
the serious medical and mental health issues of
many of its inmates. Inmates are also required to be
segregated from each other based upon security
classifications. Furthermore, inmates are frequently
transported between facilities and two various
courthouses. Finally, the inmate population varies
from day-to-day, and is subject to unpredictable
increases. Because the jail facilities have not kept
up with the exploding population of Southern
California, the LASD has been required to enact a
policy of releasing inmates well before the expiration
of their sentences. ° This is done because there is
simply not enough space to keep inmates for the
duration of their sentences.

3 The MCJ houses inmates awaiting trial
and inmates who have been sentenced.

The Los Angeles County Board of Supervisors
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 18 of 36 Page ID #:3361

Page 4

2006 U.S. Dist. LEXIS 81431, *

has recently allocated $ 258 million dollars to
upgrade the jail system. The Court has been
advised that this sum, though substantial, [*8] will
be used to upgrade existing facilities, but is
insufficient to construct additional facilities. Thus, it
appears likely that strains on the system such as
those currently occurring at the IRC will continue to
be present in the future. What exists, therefore, is a
fairly bleak prognosis with the effects of an
overburdened system continuing to manifest
themselves. These effects seem likely to result in
additional civil rights lawsuits arising from
overcrowding and greater reductions in the jail time
that inmates are required to serve. ‘

4 Current civil rights lawsuits pending
before this Court include: Dennis Rutherford
v. Leroy Baca, Case No. CV 75-04111; RD.
_ Mortimer v. Leroy Baca, Case No. CV 00-
13002: S.A. Thomas v. Leroy Baca, Case
No. CV 04-08448; and J. Avalos v. Leroy
Baca, Case No. CV 05-07602.

The Court has no desire to inject itself in the
management of the jail. If the present
circumstances are not corrected, the Court foresees
itself as constantly being asked by litigants to [*9]
formulate the minimum constitutional standards for
incarceration. * Given the intricacies of the system
this is wrong for two reasons. First, courts do not
have the expertise or time to administer complex
enterprises. Second, inmates, particularly pre-trial
detainees who are imbued with presumption of
innocence, deserve better than to be housed in a
system which has defaulted to the lowest
permissible standard of care.

5 E.g. how many inmates can be held in a
186 square foot cell; what is the maximum
amount of time an inmate can be required to
stand without a place to sit.

On the positive side, the Court has been
advised that the termination of the state's contract
with the Sheriffs department will result in
approximately 1200 additional beds in the MCJ. The
Court is hopeful that the availability of these
additional beds will ameliorate some of the more
pressing problems at the IRC and the MCU.
Additionally, the Court has been continually
impressed by the dedication of the employees of the
LASD who are daily [*10] faced with the daunting
task of managing this overburdened system. It was
clear from the hearing that Commander Kim and
Capt. Cornell, and the many other individuals with
whom the Court has encountered working for the
LASD are creative, talented, and uniformly have a

sincere desire to administer the jail system in the
most humane and efficient manner possible. The
systemic deficiencies of the present jail system,
however, seem more and more to exceed the ability -
of management to work around these deficiencies.

Having noted the above, the Court believes that
certain immediate steps should be taken by the
Sheriff's department to address the issues raised by
plaintiffs. Therefore, the Court issues the following
order.

THE DEFENDANTS ARE ORDERED TO
SHOW CAUSE at 11:00 a.m., on December 11,
2006, or as soon as possible thereafter as counsel
may be heard in the courtroom of the Honorable
Dean D. Pregerson, located at Courtroom 3, 312
Spring Street, Los Angeles, why the Defendants,
their officers, agents and assigns and those in
active concert or participation with them should not
be restrained and enjoined from:

1. Holding an inmate in the IRC for
more than 24 hours, unless any [*11]
period in excess of 24 hours is
because the inmate is being treated at
the medical facilities within the IRC;

2. Holding more than 20 inmates
in a helding cell without first
exhausting every other means to
avoid placing more than 20 inmates in
a holding cell. In the event more than
20 inmate are placed in a holding cell,
Defendants shall document the
following:

(a) name of the officer

approving the
placement;

{b) date;

(c) type of
placement,

{c) time of release;

(e) number of
persons in the cell;

(f) identification of
the particular holding
cell.

Plaintiffs shall be
provided with the
documentation upon
request;
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 19 of 36 Page ID #:3362

Page 5

2006 U.S. Dist. LEXIS 81431, *

3. Holding an inmate in a cell in
the IRC which is not maintained in a
clean and sanitary condition, including
access to a functioning toilet, potable
drinking water and clean water to
wash;

4. Holding an inmate in the IRC
without previding ongoing access to
adequate medical care, including but
not limited to regular pill call and sick
call;

5. Housing six inmates in cells at
Men's Central Jail that were used to
house four inmates prior to August 28,
2006 without prior notice to the Court
and Plaintiffs and written [*12] leave
of the Court;

6. Housing four inmates in cells at
Men's Central Jail that were used to
house two inmates prior to September
_ 13, 2006 without prior notice to the
Court and Plaintiffs and written leave
of the Court;

{c) type of
placement, .

(d) time of release:

(e)} number of
persons in the cell;

(f} identification of
the particular holding
cell. [*13]

Plaintiffs shall be
provided with the
documentation upon
request;

3. Holding an inmate in a cell in
the IRC which is not maintained in a
clean and sanitary condition, including
access to a functioning toilet, potable
drinking water and clean water to
wash;

4. Holding an inmate in the IRC
without providing ongoing access to
adequate medical care, including but
not limited to regular pill call and sick
call;

Defendant's opposition, if any, to this order shall
be filed no fater than November 20, 2006.

Pending a hearing on the above Order to Show
Cause, the Defendants, their officers, agents,
employees, attorneys and aif those in active concert
with them are hereby immediately restrained and
enjoined from:

5. Housing six inmates in cells at
Men's Central Jail that were used to
house four inmates prior tc August 28,
2006 without prior notice to the Court
and Plaintiffs and written leave of the
Court:

6. Housing four inmates in cells at

1. Holding an inmate in the IRC for
mere than 24 hours, unless any period
in excess of 24 hours is because the

inmate is being treated at the medical .

facilities within the IRC;

2. Holding more than 20 inmates
in a holding cell without first
exhausting every other means to
avoid placing more than 20 inmates in
a holding cell. In the event more than
20 inmate are placed in a holding cell,
this event shall be documented as
follows:

(a) name of the officer
approving the
placement;

(b) date;

Men's Central Jail that were used to
house two inmates prior to September
13, 2006 without prior notice to the
Court and Plaintiffs and written leave
of the Court.

The Court sets the above schedule because the
Court acknowledges that the Defendants were
required to respond to Plaintiffs Application on short
notice. The schedule will permit the parties to have
the benefit of the information contained in the
documents described on page 7, paragraph number
2.

IT IS FURTHER ORDERED that, because
Plaintiffs are indigent, they [*14] need not post any
bond in connection with this temporary restraining
order.
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 20 of 36 Page ID #:3363

IT |S SO ORDERED. DEAN D. PREGERSON
Dated: October 26, 2006 United States District Judge
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 21 0f 36 Page ID #:3364

EXHIBIT 10
 

Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 22 of 36 Page ID #:3365

 

 

  

 

 

   
  

   

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CENTHAL DISTRI CALIFCRNIA
Case No. CV 75-0414 bePuyy]

ORDER RE: PRELIMINARY INJUKCTION
ISSUED ON OCTOBER 27, 2006

7 || DENNIS RUTHERFORD, et al.

8 Plaintiffs,

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9 ve )
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10} LEROY BACA, et al., )

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)

 

11 Defendants.
‘12
43 This Order merely renews the preliminary injunction already in

14]}/ place. On October 27, 2006, the Court issued an Order to Show

15] Cause Re: Issuance of Preliminary Injunction and Temporary

16} Restraining Order. In its Order, the Court discussed the

17} overcrowding problem at Men's. Central Jail and the Inmate Reception
18 Center and issued a preliminary injunction to alleviate some of the
19} overcrowding while the Sheriff's Department considered alternative,
20] permanent solutions.

21] Pursuant to the Prison Litigation Reform Act ("PLRA*}), the

22 (preliminary injunction will automatically expire on January 26,
23/2007.* After meeting with representatives from the Sheriff's

24 Department and the ACLU on December 11, 2006 and again on January

25

 

26 * The PLRA mandates that preliminary injunctive relief shall

97 |) automatically expire on the date that is 90 days after its entry,
unless the court .. . makes the order final before the expiration
ogi Cf the 90-day period. 18 U.S.C. § 3626{a) (2). However, if the
preliminary relief is still warranted, a district court may enter a
new injunction after the previous one expires. Mayweathers v.

 

 

Newland, 258 F.3d 930, 936 (9th Cir. 2001). ~
THIS CONSTITUTES NOTICE OF ENTE Or
&S REQUIRED BY FRCP, RULE 77.4)

EXHIBIT 10
 

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1412, 2007, the Court has determined that the Sheriff's Department,
2yhas made significant progress in developing plans to alleviate fail
3 }overcrowding. While the parties continue to discuss these plang,
4 however, the Court finds that the injunction described in its ”

5 October 27 Order should remain in place. Accordingly, the Court
6 hereby issues the following injunction consistent with the one

7 described in its October 27 Order.?

8 Defendants, their officers, agents, employees, attorneys and

9#all those in active concert with them are restrained and enjoined

 

10 from:

11 1. Holding an inmate in the IRC for more than 24 hours,

12 unless any period in excess of 24 hours is because the
13 inmate is being treated at the medical facilities within
14 the IRC;

15 2. Holding more than 20 inmates in a holding cell without
16 first exhausting every other means to avoid placing more
17 than 20 inmates in a holding cell. In the event more

18 than 20 inmate are placed in a holding cell, this event
19 shall be documented as follows: :

20 (a) mame of the officer approving the placement;

21 (b) date;

22 (c) type of placement;

23 (d) time of release;

24 {e) number of persons in the cell;

25

26 * On December 11, 2006, the Court issued an Order Continuing

the Hearing to Show Cause, in which it ordered, inter alia, that
the ACLU be entitled to visit the Men's Central Jail and Inmate
Reception without notice. The Court also recommended that the ACLU
provide the Sheriff's Department with one hour notice before before
visiting. That order shall also remain in effect.

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Case 2:75-cv-04111-DDP Document.252-3 Filed 11/22/10 Page 24 of 36 Page ID #:3367

.*

1 {f) identification of the particular holding cell. .
4

2 Plaintiffs shall be provided with the documentation ugion
3 request; a

4 3. Holding an inmate in a cell in the IRC which is not ”

5 Maintained in a clean and sanitary condition, including

6 access to a functioning toilet, potable drinking water

7 and clean water to wash;

8 4. Holding an inmate in the IRC without providing ongoing

9 access to adequate medical care, including but not

10 limited to regular pill call and sick call;

11 5. Housing six inmates in cells at Men's Central Jail that
12 were used to house four inmates prior to August 28, 2006.
13 without prior notice to the Court and Plaintiffs and

14 written leave of the Court;
15 6. Housing four inmates in cells at Men's Central Jail that
16 were used to house two inmates prior to September 13,

17 2006 without prior notice to the Court and Plaintiffs and
18 written leave of the Court.
19 The Court expects that the parties will continue to provide it

20|/ with updates on the need for the injunction in future settlement
21 || conferences,

22
23 |} IT IS SO ORDERED.

24

25 /- 25-07 ‘DEAN DT PREGERSON

United States District Judge

 

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Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 25 of 36 Page ID #:3368

EXHIBIT 11
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5 CENTRAL DISTRICT OF CALIFORNIA
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7 || DENNIS RUTHERFORD, et al, Case No. CV 75-04111 BDP

: 8 Plaintiffs, ORDER RE: PRELIMINARY INJUNCTION

ISSUED ON JANUARY 25, 2007

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9 Vv. )
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104 LEROY BACA, et al., }

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11 Defendants.
12
134] - This Order merely renews the preliminary injunction already in

14 place. On October 27, 2006, the Court issued an Order to Show

15] Cause Re: Issuance of Preliminary Injunction and Temporary

16 Restraining Order. In its Order, the Court discussed the

17 || overcrowding problem at Men's Central Jail and the Inmate Reception
18] Center and issued a preliminary injunction to alleviate some of the
13 || overcrowding while the Sheriff's Department considered alternative,
20} permanent solutions.

21 Pursuant to the Prison Litigation Reform Act ("PLRA"}, the

22 preliminary injunction will automatically expire on April 25,
2342007.* After meeting with representatives from the Sheriff's

24

 

25 * The PLRA mandates that preliminary injunctive relief shall

‘96 || automatically expire on the date that is 90 days after its entry,
unless the court . . . makes the order final before the expiration
27 of the 90-day period. 18 U.S.C. § 3626(a) (2). However, if the
preliminary relief is still warranted, a district court may enter a
2g] new injunction after the previous one expires. Mayweathers v.
Newland, 258 F.3d 930, 936 (9th Cir. 2001}.

The Court has already extended the injunction once: on
January 25, 2007. Thus, another 90-day term is about to expire. =

THIS CONSTITUTES NOTICE OF EXTRY
AS REQUIRED BY FRCP, RULE 77{d} \ )

 

 

 

EXHIBIT 11
 

Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 27 of 36 Page ID #:3370

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“ s
1/Department and the ACLU several times over the past few months, the
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2jCourt has determined that progress has been made in developing?

it

3}plans to alleviate jail overcrowding. While the parties continue

2

4iito discuss these plans, however, the Court finds that the

5 injunction described in its October 27 {and January 25) Order
6should remain in place. Accordingly, the Court hereby issues the
7 following injunction consistent with the one described in its
a(previous orders .?

9 Defendants, their officers, agents, employees, attorneys and

10]fall those in active concert with them are restrained and enjoined

11) from:
12 1. Holding an inmate in the IRC for more than 24 hours,
13 unless any period in excess of 24 hours: is because the
14 inmate is being treated at the medical facilities within
15 the IRC;
164 2. Holding more than 20 inmates in a holding cell without
17 first exhausting every other means to avoid placing more
14 than 20 inmates in a holding cell. In the event more
19 than 20 inmate are placed ina holding cell, this event
20 shall be documented as follows:
21 (a) name of the officer approving the placement;
22 {b) date;
23 (c) type of placement;

: 24 {d) time of release;
25

 

* On December 11, 2006, the Court issued an Order Continuing
the Hearing to Show Cause, in which it ordered, inter alia, that
the ACLU be entitled to visit the Men's Central Jail and Inmate
Reception without notice. The Court also recommended that the ACLU
provide the Sheriff's Department with one hour notice before before
visiting. That order shall also remain in effect.

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1] {e) number of persons in the cell;

2 {f) identification of the particular holding cell. ia

3 Plaintiffs shall be provided with the documentation upon
4 request; . ”

5 3. Holding an inmate in a cell in the IRC which is not

6 maintained in a clean and sanitary condition, including
7 access to a functioning toilet, potable drinking water

8 and clean water to wash:

9 4, Holding an inmate in the IRC without providing ongoing
10 access to adequate medical care, including but not
11 limited to regular pill call and sick call;
12 5. Housing aix inmates in cells at Men's Central Jail that
13 were used to house four inmates prior to August 28, 2006
14 without prior notice to the Court and Plaintiffs and
15 written leave of the Court;
16 6. Housing four inmates in cells at Men's Central Jail that
i? were used to house two inmates prior to September 13,
18 2006 without prior notice to the Court and Plaintiffs and
19] written leave of the Court.
20 The Court expects that the parties will continue to provide it
21]| with updates on the need for the injunction in future settlement
22 || conferences.
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24|| IT IS SO ORDERED.
m| 20-08 hie
26 EAOI-D .ePREGERSON

Lika States District Judge
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Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 29 of 36 Page ID #:3372

EXHIBIT 12
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 30 of 36 Page ID #:3373

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8 , UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
10

11] DENNIS RUTHERFORD, ‘Case No. CV 75-04111 DDP

ORDER GRANTING MOTION TO REOPEN
DISCOVERY

12 Plaintiff,
13 Ve

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) .
. ) [Motion filed on June 15, 2009]
14]} LEROY BACA, )
}
)
}

 

15 Defendant.
16
17 This matter comes before the Court on Plaintiffs’ Motion to

°184 Reopen Discovery in this case. After reviewing the materials

19] submitted by the parties and considering the arguments therein, the
20]}/Court grants the Motion. This Order does not consider whether

21j} Plaintiffs are entitled to particular documents or information,

22} which may not be discoverable for various reasons.

231. BACKGROUND

24 This case was filed in December 1975 as a class action on

25] behalf of sentenced and unsentenced inmates of the Los Angeles

26 County Jails. It sought declaratory judgment and permanent

27 injunctive relief for constitutional violations relating to jail

28} conditions. The Court issued its Memorandum of Decision in July

 

 

EXHIBIT 12
Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 31 of 36 Page ID #:3374

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1f} 1978. Rutherford v, Pitchess, 457 F, Supp. 104 (C.D. Cal..1978).,

On February 15, 1979, the Court entered judgment in this case. The

WwW oN

Judgment ordered a permanent injunction with respect to (1) beds,

4i| (2) visitation, (3) outdoor recreation, (4) indoor recreation, (5)

5] the restoration of windows, (6) processing for court, (7)

6 telephones, (8) cell searches, (9} the time for meals, (10) changes

7 of clothing, (11) provisions for enforcing the order, and (12)

8} emergencies. Phe Ninth Circuit reversed the judgment with respect
9] to the restoration of windows, see Rutherford v. Pitchess, 710 F.2d
10] 572 {9th Cir. 1993), and the Supreme Court reversed the aspects of
11} the judgment that concerned contact visits and cell searches, see
12} Block v. Rutherford, 468 U.S. 576 (1984),

13 The parties subsequently entered into a working relationship

14] to enforce the permanent injunction. This working relationship

15{ yielded Court~approved Memoranda of Understanding and Stipulated

16 orders to address issues arising from the enforcement of the

17] permanent injunction.

18 In 1989, the parties entered into and the Court signed as an
19f order a Joint Stipulation and Order. That Order explained that, in

20] measuring compliance “with the Court's orders in this case ...,

21} the counsel for parties have found it useful to regularly conduct

22]) joint and separate interviews with inmates throughout the jail

23 ||} system, and to permit discussions between counsel for the plaintiff

24fand Sheriff’s staff, frequently without counsel for the Sheriff

25 being present.” Stipulation and Order at 1 (June 21, 1989). The

26]) parties stipulated that “none of the statements made during inmate

27} interviews or in discussions with the Sheriff’s staff will be used

284 or made available for use in other litigation.” Id. at 2,

 

 
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1 In 1992, the Court signed as an Order a Joint Status Report
2}]} submitted by the parties. Joint Status Report and Proposed Ordér
3]}at 6 (August 27, 1992}. It outlined “the basic framework for
4] existing court orders and modifications.” In particular, it
5} described orders and conditions concerning (1) beds, (2) visitation
6} by children of prisoners, (3} outdoor recreation, (4) indoor
7i}recreation, {5) telephones, (6) time for meals, (7) changes of
Sf clothing, (8) jail population management, (9) the health care
9H system,’ (10) administrative remedies, and (11) emergencies. More
10 recently, the Court ruled on issues related to holding inmates in
11} the Inmate Reception Center and providing inmates with appropriate
12] bedding and bunks. Those recent orders require that adequate
13] access to medical care be provided to IRC-housed inmates.
14 Plaintiffs now move to reopen discovery in Rutherford.
15] Plaintiffs raise as specific concerns supporting their motion the
16] situation of individuals with mental illness in the jail, as well
17 f}as related issues regarding medical care, access to showers, and
18] unsanitary conditions. Plaintiffs seek access to reports and.
19] policies, though they do not ask the Court to decide whether they
20}/are entitled to specific documents or resolve specific disputes at

2ili}this time. Defendants argue that the requested order reopening

 

22

23 ‘The 1992 Joint Status Report and Order includes a requirement
that the Sheriff “shall work towards obtaining State licensure of

24 all jail health facilities and providing constitutionally adequate

health care to all inmates in his custedy:” Joint Status Report
25 and Order at 10. This Joint Status Report was signed as an Order
in this case that established the current status of all agreements
26 and orders in this case. ,

Moreover, in addition to the issues actually ruled on in the
27 || permanent injunction, the Amended Complaint, filed December 31,

1975, includes allegations regarding health conditions, medical and

health care, and care for mentally ill inmates. See Am. Compl.

28! aq 27-28, 31.

 

 
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1} discovery is too broad, that Plaintiffs have not met the standard

24 for re-opening discovery, and that they fear defendants will abuse

3 || discovery.
4 EI. DESCUSSION
5 Courts have inherent power to enforce their judgments,

6{ including by granting post-judgment discovery to determine

7} compliance with judgments and orders. Cal. Dep't of Soc. Servs. v.
Sf Leavitt, 533 F.3d 1025, 1033 (9th Cir. 20098). Where Plaintiffs

9} seek a post-judgment order permitting discovery, “the kind and
10 amount of evidence of noncompliance required to justify discovery
lljjis, necessarily, considerably less than that needed to show actual
12 noncompliance. If significant questions of noncompliance have been

13]| raised, appropriate discovery should be granted.” Id. at 1034.

 

14] Such a motion is analogous to a Rule 56(f} request, see id., and

15] requires “[vJery little proof of noncompliance,” see Rutter Group
16}} Practice Guide: Federal Civil Trials and Evidence 7 20:438.3.
17]|Where parties seek to terminate or modify a consent decree or

18] injunction, for example, post-judgment discovery or hearings may be
19 warranted. Cf. Sharp v. Weston, 233 F.3d 1166, 1169 (9th Cir.

20} 2000),

21 While the Court makes no comment as to whether the particular
22} documents Plaintiffs mention in their motion are discoverable, the
23}}Court finds that Plaintiffs have provided sufficient information to
24] raise “significant questions” regarding the orders in this case and
254 to justify reopening discovery. As the basis for their request,

26]/ Plaintiffs argue that discovery is justified in order to determine
27 |) whether the Rutherford injunction should be modified and in’ order

28|}to effectively continue with their monitoring duties. They submit

4

 

 
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lj the declaration of Mary Tiedeman, the Jails Project Coordinator for
2} the ACLU, who testifies about the mental health issues she has
3j) observed in the jails, Tiedeman Decl. (41 4-5, and opines as to
4}} information she feels she needs to effectively perform her
3} monitoring role, e.g., id. 797 8-9. Additionally, Plaintiffs submit
6] the Report of Terry Kupers on Mental Health Issues as Los Angeles
7] County Jail, see Winter Decl., Ex. 1, which opines on Kupers’
8} observations of the conditions in the jails and their impact on
9 mental health issues.
19 Defendants argue that Plaintiffs have failed to make a
11] sufficient showing of non-compliance with the judgment to warrant a
12} reopening of discovery. They frame further discussions by the
13} Sheriff regarding issues beyond the judgment as purely voluntary
14]} and therefore not the subject of any motion reopening discovery.
iS} This argument is unavailing. While mental health issues are not
16]| expressly listed in the 1979 Judgment, the subsequent {largely
17 sitpulated) orders in this case have modified the obligations of
18] the parties and, as noted above, they contemplate and, incorporate
223] both medical care and mental health issues. Those additional
20]/ issues - which are within the scope of the 1975 Amended Complaint -
21] have therefore become more than voluntary “extras.” The Court has
22) yet to interpret those obligations in great detail, and does not do
23]/so here. Against that backdrop, however, the Court is satisfied
24] that Plaintiffs have provided a basis for the discovery of
25 documents: they have provided evidence regarding medical care and
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Case 2:75-cv-04111-DDP Document 252-3 Filed 11/22/10 Page 35 of 36 Page ID #:3378
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1} conditions that may plausibly fall below the Constitutional
2 f minimum. ?
3 Defendants express two additional concerns. First, they argue
4]| that the relief Plaintiff requests - an order reopening discovery
Sy without any particular focus - is too broad and authorizes a
6) fishing expedition. In reopening discovery, the Court limits that
7 | discovery, at this stage, to the issues identified in Plaintiffs’
8 motion - specifically, issues regarding medical care and mental
9]} health - but the Court notes that the allegedly systemic nature of
10}} these issues may make discovery inherently broad.* The Court urges
ll and expects the parties to work cooperatively to arrive on a
12} satisfactory discovery framework. Second, Defendants express a
13] fear that the ACLU will improperly use information obtained in
14] discovery for other litigation. The Court notes that such a
154 concern is more appropriately dealt with through procedural
16 barriers such as protective orders.‘ Additionally, the Court

17] reiterates that this Order does not establish Plaintiffs’

 

18

19 *To the extent some of Plaintiffs’ evidence regarding the
reopening of discovery comes from situations where the Sheriff has

20 allowed Plaintiffs more access than the anjunction and orders
require, the Court notes that this evidence is not improperly

21 submitted. The Court will not allow Plaintiffs to enforce LASD
courtesies that have not become part of an order; however,

22 Defendants have pointed to no order that bars the ACLU from using
the information gained through those courtesies in support of

23) efforts to enforce orders and obligations in this case. That said,
the Court is not convinced that Plaintiffs’ monitoring duties, in

24 and of themselves, entitle them to certain documents simply because
such documents would be helpful.

29 "The Kupers Report suggests, for example, that a number of

26 issues, taken together, make the confinement of mentally ill
prisoners particularly problematic.

27

‘The Court will not assume that Plaintiffs or their counsel
28 will violate any such orders. Defendants’ second argument
therefore carries little weight.

 

 
Case 2:75-cv-04111-DDP. Document 252-3 Filed 11/22/10 Page 36 of 36 Page ID #:3379
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Li entitlement to any specific document. To the extent the Sheriff

claims such documents are privileged, the discovery procedures are

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more than equipped to aid the parties and the Court in

appropriately designating, adjudicating, and protecting such

os

Si privileges.
6 || IIIT. CONCLUSION
7 For the foregoing reasons, the Court grants the Motion to Re-
8]) Open Discovery. As mentioned above, the Court's Order does not
9] resolve whether specific documents are discoverable or specific
107 document disputes.
11]}/ IT IS SO ORDERED.
12
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14} Dated: August 4, 2009 “

 

15 : United States District Judge
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